     Case 3:20-cv-00566-RCJ-CLB Document 12 Filed 09/27/21 Page 1 of 3



1                                UNITED STATES DISTRICT COURT
2                                        DISTRICT OF NEVADA
3
      TROY EMANUEL, JR.,                                     Case No. 3:20-cv-0566-RCJ-CLB
4
                                            Plaintiff,                   ORDER
5            v.
6     C/O COLLINS, et al.,
7                                      Defendants.
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            This action began with a pro se civil rights complaint filed pursuant to 42 U.S.C. §
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     1983 by a state prisoner. Plaintiff has submitted an application to proceed in forma
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     pauperis. ECF No. 1. Based on the financial information provided, the Court finds that
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     Plaintiff is unable to prepay the full filing fee in this matter.
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            The Court entered a screening order on April 29, 2021. ECF No. 3. The
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     screening order imposed a 90-day stay and the Court entered a subsequent order in
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     which the parties were assigned to mediation by a court-appointed mediator. ECF No.
16
     6. Following the first mediation session, mediation was continued to September 14,
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     2021. ECF Nos. 7-9. The Office of the Attorney General has filed a further status
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     report following the continued mediation session indicating that settlement has not been
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     reached and informing the Court of its intent to proceed with this action. ECF No. 11.
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            For the foregoing reasons, THE COURT ORDERS that:
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            1.      Plaintiff’s application to proceed in forma pauperis (ECF No. 1) is
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     GRANTED. Plaintiff is permitted to maintain this action to conclusion without the
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     necessity of prepayment of the filing fee in full or part, or prepayment of any additional
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     fees or costs, or the giving of security therefor.
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            2.      This order granting leave to proceed in forma pauperis shall not extend to
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     the issuance and/or service of subpoenas at government expense.
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     Case 3:20-cv-00566-RCJ-CLB Document 12 Filed 09/27/21 Page 2 of 3



1           3.     While Plaintiff is not required to pre-pay the filing fee in full or part, the full

2    filing fee must still be paid by Plaintiff pursuant to 28 U.S.C. § 1915(b)(2). Accordingly,

3    Plaintiff is required to make monthly payments of 20% of the preceding month’s income

4    credited to his account. The Nevada Department of Corrections shall determine and

5    forward this monthly payment from the account of Plaintiff Troy Emanuel, Jr.,

6    #1110489, to the Clerk of the United States District Court, District of Nevada, in each

7    month that the account balance exceeds $10.00 until the full $350.00 filing fee has been

8    paid for this action. The Clerk of the Court shall SEND a copy of this order to the

9    Finance Division of the Clerk’s Office. The Clerk of the Court shall also SEND a copy of

10   this order to the attention of the Chief of Inmate Services for the Nevada Department of

11   Corrections, P.O. Box 7011, Carson City, NV 89702.

12          4.     The Clerk of the Court shall electronically SERVE a copy of this order and

13   a copy of Plaintiff’s complaint (ECF No. 4) on the Office of the Attorney General of the

14   State of Nevada by adding the Attorney General of the State of Nevada to the docket

15   sheet. This does not indicate acceptance of service.

16          5.     Service must be perfected within 90 days from the date of this order

17   pursuant to Fed. R. Civ. P. 4(m).

18          6.     Subject to the findings of the screening order (ECF No. 3), within 21 days

19   of the date of entry of this order, the Attorney General’s Office shall file a notice advising

20   the Court and Plaintiff of: (a) the names of the defendants for whom it accepts service;

21   (b) the names of the defendants for whom it does not accept service, and (c) the names

22   of the defendants for whom it is filing the last-known-address information under seal.

23   As to any of the named defendants for whom the Attorney General’s Office cannot

24   accept service, the Office shall file under seal, but shall not serve the inmate Plaintiff,

25   the last known addresses of those defendants for whom it has such information. If the

26   last known address of a defendant is a post office box, the Attorney General's Office

27   shall attempt to obtain and provide the last known physical address.

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     Case 3:20-cv-00566-RCJ-CLB Document 12 Filed 09/27/21 Page 3 of 3



1           7.     If service cannot be accepted for any named defendant, Plaintiff shall file a

2    motion identifying the unserved defendant, requesting issuance of a summons, and

3    specifying a full name and address for the defendant. For each defendant as to which

4    the Attorney General has not provided the defendant’s last-known-address, Plaintiff

5    shall provide the full name and address for the defendant.

6           8.     If the Attorney General accepts service of process for a named defendant,

7    each such defendant shall file and serve an answer or other response to the complaint

8    (ECF No. 4) within sixty (60) days from the date of this order.

9           9.     Plaintiff shall serve upon defendants or, if an appearance has been

10   entered by counsel, upon their attorneys, a copy of every pleading, motion or other

11   document submitted for consideration by the Court. If Plaintiff electronically files a

12   document with the Court’s electronic-filing system, no certificate of service is required.

13   Fed. R. Civ. P. 5(d)(1)(B); Nev. Loc. R. IC 4-1(b); Nev. Loc. R. 5-1. However, if Plaintiff

14   mails the document to the Court, Plaintiff shall include with the original document

15   submitted for filing a certificate stating the date that a true and correct copy of the

16   document was mailed to the defendants or counsel for the defendants. If counsel has

17   entered a notice of appearance, Plaintiff shall direct service to the individual attorney

18   named in the notice of appearance, at the physical or electronic address stated therein.

19   The Court may disregard any document received by a district judge or magistrate judge

20   which has not been filed with the Clerk, and any document received by a district judge,

21   magistrate judge, or the Clerk which fails to include a certificate showing proper service

22   when required.

23          10.    This case is no longer stayed.

24
            DATED THIS 27th
                         day of September 2021.
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                                                UNITED STATES MAGISTRATE JUDGE
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